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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

 Case No. CV 17-00359-CBM(JCx)                                              Date: August 24, 2018
 Title     Matt Salnick v. Ameron Pole Products, LLC.




 Present: The Honorable: CONSUELO B. MARSHALL, U.S. DISTRICT COURT JUDGE


                  Kelly Davis                                            Not Present
                  Deputy Clerk                                    Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:

                 Not Present                                            Not Present

 Proceedings: (IN CHAMBERS)

 The Court is in receipt of the Status Report [39] filed on August 13, 2018. The Court Trial
 scheduled for August 28, 2018, is hereby vacated. The parties are instructed to file a Joint Status
 Report no later than September 24, 2018.




 IT IS SO ORDERED.




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                                                                  Initials of Preparer   kd




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